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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

.................................             -   -X
TRADEWINDS AIRLINES, INC.,

                            Plaintiff,                   No. 08 Civ. 5901 (JFK)

            -against-                                       Memorandum Opinion
                                                                  & Order
GEORGE SOROS and PURNENDU
CHATTERJEE,

                            Defendants.
...................................X
JOHN F. KEENAN, United States District Judge:

            At     a    conference      on    February       10,   2009,    the     Court

permitted    the       parties    to    file      under     seal   their    papers       in

connection with defendant George Soros's motion to disqualify

plaintiff's counsel.            That motion was denied in a publicly filed

Opinion and Order dated May 12, 2009 (the "Opinion").                           Soros now

requests that the Opinion be placed under seal.


            There      is   a    strong     presumption of         public       access   to

"judicial documents," or "items filed with the court that are

relevant to the performance of the judicial function and useful

in the judicial process." In re Terrorist Attacks on September

11, 2001, 454 F. Supp. 2d 220, 222                     (S.D.N.Y. 2006) (quoting -
                                                                                SEC

v. TheStreet.com, 273 F.3d 222, 231 (2d Cir. 2001).                             A federal

court's   decision whether             to    disqualify      counsel   in       order    to

preserve the integrity of the adversary process is an important

                               Cf. Centauri Shipping Ltd. v.
part of the judicial function. -                        -                   -
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Western Bulk Carriers KS, 528 F. Supp. 2d                            197, 205 (S.D.N.Y.

2007) (denying request to seal Rule 11 proceedings because they

served     "the   essential      purpose         of     permitting         this      Court   to

perform     its   Article     I11    duties        of     deterring        abuses       of   the

judicial process and imposing sanctions to achieve that end, if

necessary" (internal quotation marks omitted)).                            The information

set   forth in the Opinion was                  relevant        and necessary           to   the

discharge of this function, thus creating a strong presumption

of public access that is not overcome by any competing concerns.

United States v. Amodeo, 71 F.3d 1044, 1049                               (2d Cir. 1995).

Therefore, to the extent quoted or discussed                             in the Opinion,

information originally filed under seal is hereby unsealed


S O ORDERED.

Dated:       New Y o r k , New Y o r k
             May 20, 2009

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                                                         J O H N F . KEENAN
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                                             U n i t e d S t a t e s D i s t r i c t Judge
